    Case 2:15-cv-05346-CJC-E Document 469-34 Filed 12/10/20 Page 1 of 2 Page ID
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                         Exhibit 2-O
           Evidence Packet in Support of Defendant’s Motions for Summary Judgment



              U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                         Exhibit 2O
                                                         White Decl. ISO Disney's SJ Motion P.0846
    Case 2:15-cv-05346-CJC-E Document 469-34 Filed 12/10/20 Page 2 of 2 Page ID
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